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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


Luis Garcia
         Plaintiff,

 Vs                                          Civil Action No. No.3:16-CV-00791 (VAB)


Law Offices of Howard Lee Schiff P.C.,

         Defendant.


                             SATISFACTION OF JUDGMENT




         A Judgment was rendered in favor of the above-named Plaintiff Luis Garcia

 and against the above-named Law Offices of Howard Lee Schiff P.C., in the above-entitled action,

 on the 4th day of November 2019. Plaintiff hereby notifies the Court that the Judgment, inclusive

 of costs and attorneys’ fees, has been satisfied. The Clerk of Court is hereby authorized and

 requested to record the satisfaction of said Judgment in the record.




 Dated: December 4, 2019


                                                          STEIN SAKS, PLLC
                                                          /s/Raphael Deutsch
                                                          Raphael Deutsch
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                                 Certification of Service

        I, hereby certify that a copy of the foregoing and any attachments hereto were
filed via CM/ECF on December 4, 2019, notification of which will be sent to counsel
of record below pursuant to the CM/ECF filing system.

Jeanine M. Dumont
c/o Law Offices Howard Lee
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/s/Raphael Deutsch
Raphael Deutsch, Esq.
Ct28898
